       Case 1:16-cr-00190-DLH      Document 2      Filed 08/03/16    Page 1 of 35




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NORTH DAKOTA
                             WESTERN DIVISION

 UNITED STATES OF AMERICA                        INDICTMENT

                     v.                          Case No. ________________________

 ROBERT FLOYD PETERICK,                          Violations: 18 U.S.C. §§ 2, 922(g)(1),
 a/k/a “CONCRETE ROB;”                           922(g)(9), 924(a)(2), and
 DAVID JEFFREY FARNSWORTH;                       924(c)(1)(A)(i); and 21 U.S.C.
 KIM DAVIS JOHNSON;                              §§ 841(a)(1), 841(b)(1)(C), 841(b)(1)(B),
 PAMELA BAILEY;                                  841(b)(1)(C), 846, and 853
 WENDY DAWN LAHM;
 CHRISTOPHER JAY BAUMGARTNER,
 a/k/a “THUNDER;”
 CASEY LEE URBATSCH;
 GENE VINCENT HONDL;
 JOSHUA NEWLIN, a/k/a “BISCUIT;” and
 AMANDA OROZCO

                                     COUNT ONE

 Conspiracy to Distribute and Possess with Intent to Distribute Methamphetamine

The Grand Jury Charges:

      From in or about 2015 and continuing until the date of this Indictment, in the

District of North Dakota, and elsewhere,

             ROBERT FLOYD PETERICK, a/k/a “CONCRETE ROB;”
                     DAVID JEFFREY FARNSWORTH;
                         KIM DAVIS JOHNSON;
                           PAMELA BAILEY;
                         WENDY DAWN LAHM;
            CHRISTOPHER JAY BAUMGARTNER, a/k/a “THUNDER;”
                        CASEY LEE URBATSCH;
                        GENE VINCENT HONDL;
                   JOSHUA NEWLIN, a/k/a “BISCUIT;” and
                          AMANDA OROZCO;
       Case 1:16-cr-00190-DLH        Document 2      Filed 08/03/16    Page 2 of 35




knowingly and intentionally combined, conspired, confederated, and agreed together and

with others, both known and unknown to the grand jury, to distribute and possess with

intent to distribute a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 841(a)(1) and 841(b)(1)(C), and Title 18, United States Code,

Section 2.

                                      Drug Quantity

       With respect to defendants ROBERT FLOYD PETERICK, a/k/a “CONCRETE

ROB,” and DAVID JEFFREY FARNSWORTH, the amount involved in the conspiracy

attributable to each of these defendants as a result of each defendant’s own conduct, and

the conduct of other conspirators reasonably foreseeable to each defendant, is 500 grams

or more of a mixture and substance containing a detectable amount of methamphetamine,

in violation of Title 21, United States Code, Section 841(b)(1)(A)(viii).

       With respect to defendants KIM DAVIS JOHNSON; PAMELA BAILEY;

WENDY DAWN LAHM; CHRISTOPHER JAY BAUMGARTNER, a/k/a

“THUNDER;” CASEY LEE URBATSCH; GENE VINCENT HONDL; and JOSHUA

NEWLIN, a/k/a “BISCUIT,” the amount involved in the conspiracy attributable to each

of these defendants as a result of each defendant’s own conduct, and the conduct of other

conspirators reasonably foreseeable to each defendant, is 50 grams or more of a mixture

and substance containing a detectable amount of methamphetamine, in violation of Title

21, United States Code, Section 841(b)(1)(B).



                                             2
       Case 1:16-cr-00190-DLH        Document 2      Filed 08/03/16    Page 3 of 35




                                        Overt Acts

       In furtherance of this conspiracy and to effect and accomplish the objects of it, one

or more of the conspirators committed the following overt acts:

       1.     It was a part of said conspiracy that the defendants and others would and

did distribute, and possess with intent to distribute, methamphetamine, a Schedule II

controlled substance, in the District of North Dakota, and elsewhere, including, but not

limited to, the following:

              a.     On or about January 12, 2016, defendants JOSHUA NEWLIN and

                     GENE VINCENT HONDL, individually and by aiding and abetting,

                     distributed approximately 1 ounce of a mixture and substance

                     containing a detectable amount of methamphetamine to another

                     person;

              b.     On or about January 18, 2016, defendants JOSHUA NEWLIN and

                     GENE VINCENT HONDL, individually and by aiding and abetting,

                     distributed approximately one-half (1/2) ounce of a mixture and

                     substance containing a detectable amount of methamphetamine to

                     another person;

              c.     On or about January 19, 2016, defendant GENE VINCENT

                     HONDL, individually and by aiding and abetting, distributed

                     approximately 1 ounce of a mixture and substance containing a

                     detectable amount of methamphetamine to another person;



                                             3
Case 1:16-cr-00190-DLH    Document 2     Filed 08/03/16   Page 4 of 35




     d.    On or about January 20, 2016, defendants JOSHUA NEWLIN and

           GENE VINCENT HONDL, individually and by aiding and abetting,

           distributed approximately 1 ounce of a mixture and substance

           containing a detectable amount of methamphetamine to another

           person;

     e.    On or about January 29, 2016, defendant DAVID JEFFREY

           FARNSWORTH distributed approximately 1 ounce of a mixture and

           substance containing a detectable amount of methamphetamine to

           another person;

     f.    On or about February 1, 2016, defendant ROBERT FLOYD

           PETERICK distributed approximately 4 ounces of a mixture and

           substance containing a detectable amount of methamphetamine to

           another person;

     g.    On or about February 11, 2016, defendant DAVID JEFFREY

           FARNSWORTH distributed approximately 10 ounces of a mixture

           and substance containing a detectable amount of methamphetamine

           to another person;

     h.    On or about February 13, 2016, defendant DAVID JEFFREY

           FARNSWORTH distributed approximately 2 ounces of a mixture

           and substance containing a detectable amount of methamphetamine

           to another person;



                                 4
Case 1:16-cr-00190-DLH      Document 2   Filed 08/03/16    Page 5 of 35




     i.    On or about March 8 - 9, 2016, defendant ROBERT FLOYD

           PETERICK distributed approximately 1 gram of a mixture and

           substance containing a detectable amount of methamphetamine to

           another person;

     j.    On or about March 10 - 11, 2016, defendant ROBERT FLOYD

           PETERICK distributed approximately 6 ounces of a mixture and

           substance containing a detectable amount of methamphetamine to

           another person

     k.    On or about March 18 - 19, 2016, defendant ROBERT FLOYD

           PETERICK distributed approximately 3 ounces of a mixture and

           substance containing a detectable amount of methamphetamine to

           another person;

     l.    On or about March 28 - 29, 2016, defendant ROBERT FLOYD

           PETERICK distributed approximately 3 ounces of a mixture and

           substance containing a detectable amount of methamphetamine to

           another person;

     m.    On or about April 14, 2016, defendants KIM DAVIS JOHNSON

           and ROBERT FLOYD PETERICK, individually and by aiding and

           abetting, distributed approximately 1 pound of a mixture and

           substance containing a detectable amount of methamphetamine to

           another person; and,



                                  5
       Case 1:16-cr-00190-DLH         Document 2     Filed 08/03/16     Page 6 of 35




              n.     On or about May 5, 2016, defendant GENE VINCENT HONDL and

                     AMANDA OROZCO possessed approximately 3 ounces of a

                     mixture and substance containing a detectable amount of

                     methamphetamine with intent to distribute the same to another

                     person;

       2.     It was further a part of said conspiracy that the defendants and others would

and did attempt to conceal their activities;

       3.     It was a further part of said conspiracy that the defendants and others would

and did use United States currency in their drug transactions;

       4.     It was a further part of said conspiracy that the defendants and others would

and did use telecommunication facilities, including cellular telephones, to facilitate the

distribution of methamphetamine and other controlled substances;

       5.     It was a further part of said conspiracy that one or more conspirators

traveled between North Dakota and other states to obtain and distribute

methamphetamine;

       6.     It was a further part of said conspiracy that one or more conspirators

possessed firearms to protect and conceal their drug trafficking activity;

       7.     It was a further part of said conspiracy that one or more conspirators

collected money owed to other conspirators from individuals to whom methamphetamine

and other controlled substances had been distributed; and,

       8.     It was a further part of said conspiracy that one or more conspirators

provided, gave, and pledged motor vehicles and titles to motor vehicles as collateral for

                                               6
       Case 1:16-cr-00190-DLH       Document 2      Filed 08/03/16    Page 7 of 35




the receipt and future distribution of methamphetamine; and received, took, repossessed,

and seized motor vehicles and titles to motor vehicles as payment for distribution of

methamphetamine;

       In violation of Title 21, United States Code, Section 846; Pinkerton v. United

States, 328 U.S. 640 (1946).




                                            7
       Case 1:16-cr-00190-DLH       Document 2     Filed 08/03/16      Page 8 of 35




                                     COUNT TWO

                          Distribution of Methamphetamine

The Grand Jury Further Charges:

      On or about January 12, 2016, in the District of North Dakota,

                       JOSHUA NEWLIN, a/k/a “BISCUIT,” and
                            GENE VINCENT HONDL,

individually and by aiding and abetting, knowingly and intentionally distributed

approximately one (1) ounce of a mixture and substance containing a detectable amount

of methamphetamine;

      In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C),

and Title 18, United States Code, Section 2.




                                               8
       Case 1:16-cr-00190-DLH       Document 2     Filed 08/03/16      Page 9 of 35




                                    COUNT THREE

                          Distribution of Methamphetamine

The Grand Jury Further Charges:

      On or about January 18, 2016, in the District of North Dakota,

                       JOSHUA NEWLIN, a/k/a “BISCUIT,” and
                            GENE VINCENT HONDL,

individually and by aiding and abetting, knowingly and intentionally distributed

approximately one-half (1/2) ounce of a mixture and substance containing a detectable

amount of methamphetamine;

      In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C),

and Title 18, United States Code, Section 2.




                                               9
      Case 1:16-cr-00190-DLH       Document 2      Filed 08/03/16    Page 10 of 35




                                     COUNT FOUR

                          Distribution of Methamphetamine

The Grand Jury Further Charges:

      On or about January 19, 2016, in the District of North Dakota,

                              GENE VINCENT HONDL,

individually and by aiding and abetting, knowingly and intentionally distributed

approximately one (1) ounce of a mixture and substance containing a detectable amount

of methamphetamine;

      In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C),

and Title 18, United States Code, Section 2.




                                           10
      Case 1:16-cr-00190-DLH       Document 2      Filed 08/03/16    Page 11 of 35




                                     COUNT FIVE

                          Distribution of Methamphetamine

The Grand Jury Further Charges:

      On or about January 20, 2016, in the District of North Dakota,

                       JOSHUA NEWLIN, a/k/a “BISCUIT,” and
                            GENE VINCENT HONDL,

individually and by aiding and abetting, knowingly and intentionally distributed

approximately one (1) ounce of a mixture and substance containing a detectable amount

of methamphetamine;

      In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C),

and Title 18, United States Code, Section 2.




                                           11
      Case 1:16-cr-00190-DLH       Document 2      Filed 08/03/16    Page 12 of 35




                                      COUNT SIX

               Possession with intent to Distribute Methamphetamine
                           (50 grams or more – mixture)

The Grand Jury Further Charges:

      On or about May 5, 2016, in the District of North Dakota,

                             GENE VINCENT HONDL and
                                AMANDA OROZCO,

individually and by aiding and abetting, knowingly and intentionally possessed with

intent to distribute more than 50 grams of a mixture and substance containing a detectable

amount of methamphetamine;

      In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B),

and Title 18, United States Code, Section 2.




                                           12
      Case 1:16-cr-00190-DLH       Document 2      Filed 08/03/16    Page 13 of 35




                                    COUNT SEVEN

                          Distribution of Methamphetamine

The Grand Jury Further Charges:

      On or about January 29, 2016, in the District of North Dakota,

                          DAVID JEFFREY FARNSWORTH,

individually and by aiding and abetting, knowingly and intentionally distributed

approximately one (1) ounce of a mixture and substance containing a detectable amount

of methamphetamine;

      In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C),

and Title 18, United States Code, Section 2.




                                           13
      Case 1:16-cr-00190-DLH       Document 2     Filed 08/03/16    Page 14 of 35




                                    COUNT EIGHT

                          Distribution of Methamphetamine
                            (50 grams or more – mixture)

The Grand Jury Further Charges:

      On or about February 11, 2016, in the District of North Dakota,

                          DAVID JEFFREY FARNSWORTH,

individually and by aiding and abetting, knowingly and intentionally distributed more

than 50 grams of a mixture and substance containing a detectable amount of

methamphetamine;

      In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B),

and Title 18, United States Code, Section 2.




                                           14
      Case 1:16-cr-00190-DLH       Document 2     Filed 08/03/16    Page 15 of 35




                                     COUNT NINE

                          Distribution of Methamphetamine
                            (50 grams or more – mixture)

The Grand Jury Further Charges:

      On or about February 13, 2016, in the District of North Dakota,

                          DAVID JEFFREY FARNSWORTH,

individually and by aiding and abetting, knowingly and intentionally distributed 50 grams

or more of a mixture and substance containing a detectable amount of methamphetamine;

      In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B),

and Title 18, United States Code, Section 2.




                                           15
      Case 1:16-cr-00190-DLH       Document 2     Filed 08/03/16    Page 16 of 35




                                      COUNT TEN

                          Distribution of Methamphetamine
                            (50 grams or more – mixture)

The Grand Jury Further Charges:

      On or about February 1, 2016, in the District of North Dakota,

            ROBERT FLOYD PETERICK, a/k/a “CONCRETE ROB,” and
                     DAVID JEFFREY FARNSWORTH,

individually and by aiding and abetting, knowingly and intentionally distributed 50 grams

or more of a mixture and substance containing a detectable amount of methamphetamine;

      In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B),

and Title 18, United States Code, Section 2.




                                           16
      Case 1:16-cr-00190-DLH       Document 2      Filed 08/03/16    Page 17 of 35




                                   COUNT ELEVEN

                          Distribution of Methamphetamine

The Grand Jury Further Charges:

      On or about March 8 - 9, 2016, in the District of North Dakota,

               ROBERT FLOYD PETERICK, a/k/a “CONCRETE ROB,”

individually and by aiding and abetting, knowingly and intentionally distributed

approximately one (1) gram of a mixture and substance containing a detectable amount of

methamphetamine;

      In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C),

and Title 18, United States Code, Section 2.




                                           17
      Case 1:16-cr-00190-DLH       Document 2     Filed 08/03/16    Page 18 of 35




                                   COUNT TWELVE

                          Distribution of Methamphetamine
                            (50 grams or more – mixture)

The Grand Jury Further Charges:

      On or about March 10 - 11, 2016, in the District of North Dakota,

               ROBERT FLOYD PETERICK, a/k/a “CONCRETE ROB,”

individually and by aiding and abetting, knowingly and intentionally distributed 50 grams

or more of a mixture and substance containing a detectable amount of methamphetamine;

      In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B),

and Title 18, United States Code, Section 2.




                                           18
      Case 1:16-cr-00190-DLH       Document 2     Filed 08/03/16    Page 19 of 35




                                  COUNT THIRTEEN

                          Distribution of Methamphetamine
                            (50 grams or more – mixture)

The Grand Jury Further Charges:

      On or about March 18 - 19, 2016, in the District of North Dakota,

               ROBERT FLOYD PETERICK, a/k/a “CONCRETE ROB,”

individually and by aiding and abetting, knowingly and intentionally distributed 50 grams

or more of a mixture and substance containing a detectable amount of methamphetamine;

      In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B),

and Title 18, United States Code, Section 2.




                                           19
      Case 1:16-cr-00190-DLH       Document 2     Filed 08/03/16    Page 20 of 35




                                  COUNT FOURTEEN

                          Distribution of Methamphetamine
                            (50 grams or more – mixture)

The Grand Jury Further Charges:

      On or about March 28 - 29, 2016, in the District of North Dakota,

               ROBERT FLOYD PETERICK, a/k/a “CONCRETE ROB,”

individually and by aiding and abetting, knowingly and intentionally distributed 50 grams

or more of a mixture and substance containing a detectable amount of methamphetamine;

      In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B),

and Title 18, United States Code, Section 2.




                                           20
      Case 1:16-cr-00190-DLH       Document 2     Filed 08/03/16     Page 21 of 35




                                   COUNT FIFTEEN

                          Distribution of Methamphetamine
                            (50 grams or more – mixture)

The Grand Jury Further Charges:

      On or about April 14, 2016, in the District of North Dakota,

            ROBERT FLOYD PETERICK, a/k/a “CONCRETE ROB,” and
                         KIM DAVIS JOHNSON,

individually and by aiding and abetting, knowingly and intentionally distributed 50 grams

or more of a mixture and substance containing a detectable amount of methamphetamine;

      In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B),

and Title 18, United States Code, Section 2.




                                           21
      Case 1:16-cr-00190-DLH       Document 2      Filed 08/03/16    Page 22 of 35




                                  COUNT SIXTEEN

                   Possession of a Firearm by a Prohibited Person

The Grand Jury Further Charges:

      On or about March 8 - 9, 2016, in the District of North Dakota,

               ROBERT FLOYD PETERICK, a/k/a “CONCRETE ROB,”

having been convicted in any court of a crime punishable by imprisonment for a term

exceeding one year, to wit:

      (a) Assault (2nd Degree), in Morrison County, Minnesota, District Court, case
          number 49-K9-91-001071, in or about February 1992; and,

having been convicted in any court of a misdemeanor crime of domestic violence, to-wit:

      (b) Simple Assault (Domestic), in Walworth County, South Dakota, Fifth Judicial
          Circuit Court, case number 13-144, in or about July 2013;

did knowingly possess in and affecting commerce a firearm, namely, one Para U.S.A.,

Inc., Model P14, .45 caliber pistol, serial number K061176;

      In violation of Title 18, United States Code, Sections 2, 922(g)(1), 922(g)(9), and

924(a)(2).




                                           22
      Case 1:16-cr-00190-DLH       Document 2      Filed 08/03/16    Page 23 of 35




                                  COUNT SEVENTEEN

                   Possession of a Firearm by a Prohibited Person

The Grand Jury Further Charges:

      On or about March 18 - 19, 2016, in the District of North Dakota,

               ROBERT FLOYD PETERICK, a/k/a “CONCRETE ROB,”

having been convicted in any court of a crime punishable by imprisonment for a term

exceeding one year, to wit:

      (a) Assault (2nd Degree), in Morrison County, Minnesota, District Court, case
          number 49-K9-91-001071, in or about February 1992; and,

having been convicted in any court of a misdemeanor crime of domestic violence, to-wit:

      (b) Simple Assault (Domestic), in Walworth County, South Dakota, Fifth Judicial
          Circuit Court, case number 13-144, in or about July 2013;

did knowingly possess in and affecting commerce a firearm, namely, one German Sports

Guns (GMBH), Model GSG-1911, .22 caliber pistol, serial number A526386;

      In violation of Title 18, United States Code, Sections 2, 922(g)(1), 922(g)(9), and

924(a)(2).




                                           23
      Case 1:16-cr-00190-DLH       Document 2      Filed 08/03/16    Page 24 of 35




                                  COUNT EIGHTEEN

                   Possession of a Firearm by a Prohibited Person

The Grand Jury Further Charges:

      On or about March 28 - 29, 2016, in the District of North Dakota,

               ROBERT FLOYD PETERICK, a/k/a “CONCRETE ROB,”

having been convicted in any court of a crime punishable by imprisonment for a term

exceeding one year, to wit:

      (a) Assault (2nd Degree), in Morrison County, Minnesota, District Court, case
          number 49-K9-91-001071, in or about February 1992; and,

having been convicted in any court of a misdemeanor crime of domestic violence, to-wit:

      (a) Simple Assault (Domestic), in Walworth County, South Dakota, Fifth Judicial
          Circuit Court, case number 13-144, in or about July 2013;

did knowingly possess in and affecting commerce one or more firearms, namely: (i) one

Beemiller (Hi-Point), Model C, 9mm caliber pistol, serial number 822706; and, (ii) one

Iver Johnson, .25 caliber pocket pistol, serial number EE09532;

      In violation of Title 18, United States Code, Sections 2, 922(g)(1), 922(g)(9), and

924(a)(2).




                                           24
      Case 1:16-cr-00190-DLH       Document 2      Filed 08/03/16    Page 25 of 35




                                  COUNT NINETEEN

                   Possession of a Firearm by a Prohibited Person

The Grand Jury Further Charges:

      In or about March 2016, in the District of North Dakota,

             CHRISTOPHER JAY BAUMGARTNER, a/k/a “THUNDER,”

having been convicted in any court of a crime punishable by imprisonment for a term

exceeding one year, to wit:

      (a) Reckless Endangerment, in Divide County, North Dakota, District Court, case
          number 12-2013-CR-00246.3, on or about March 27, 2014;

did knowingly possess in and affecting commerce a firearm, namely, one Beemiller (Hi-

Point), Model C, 9mm caliber pistol, serial number 822706;

      In violation of Title 18, United States Code, Sections 2, 922(g)(1), and 924(a)(2).




                                           25
      Case 1:16-cr-00190-DLH        Document 2      Filed 08/03/16     Page 26 of 35




                                    COUNT TWENTY

        Use of a Firearm During and in Relation to a Drug Trafficking Crime

The Grand Jury Further Charges:

       On or about March 8 - 9, 2016, in the District of North Dakota,

               ROBERT FLOYD PETERICK, a/k/a “CONCRETE ROB,”

used a firearm, namely, one Para U.S.A., Inc., Model P14, .45 caliber pistol, serial

number K061176, during and in relation to a drug trafficking crime for which ROBERT

FLOYD PETERICK, a/k/a “CONCRETE ROB, may be prosecuted in a court of the

United States, specifically, (i) Conspiracy to Distribute and Possess with Intent to

Distribute Methamphetamine, as alleged in Count One of this Indictment; and (ii)

Distribution of Methamphetamine, as alleged in Count Eleven of this Indictment;

       In violation of Title 18, United States Code, Section 924(c)(1)(A)(i).




                                             26
      Case 1:16-cr-00190-DLH        Document 2      Filed 08/03/16     Page 27 of 35




                                 COUNT TWENTY-ONE

        Use of a Firearm During and in Relation to a Drug Trafficking Crime

The Grand Jury Further Charges:

       On or about March 18 - 19, 2016, in the District of North Dakota,

               ROBERT FLOYD PETERICK, a/k/a “CONCRETE ROB,”

used a firearm, namely, one German Sports Guns (GMBH), Model GSG-1911, .22

caliber pistol, serial number A526386, during and in relation to a drug trafficking crime

for which ROBERT FLOYD PETERICK, a/k/a “CONCRETE ROB, may be prosecuted

in a court of the United States, specifically, (i) Conspiracy to Distribute and Possess with

Intent to Distribute Methamphetamine, as alleged in Count One of this Indictment; and

(ii) Distribution of Methamphetamine, as alleged in Count Thirteen of this Indictment;

       In violation of Title 18, United States Code, Section 924(c)(1)(A)(i).




                                             27
      Case 1:16-cr-00190-DLH         Document 2      Filed 08/03/16    Page 28 of 35




                                 COUNT TWENTY-TWO

        Use of a Firearm During and in Relation to a Drug Trafficking Crime

The Grand Jury Further Charges:

       On or about March 28 - 29, 2016, in the District of North Dakota,

               ROBERT FLOYD PETERICK, a/k/a “CONCRETE ROB,”

used one or more firearms, namely: (i) one Beemiller (Hi-Point), Model C, 9mm caliber

pistol, serial number 822706; and, (ii) one Iver Johnson, .25 caliber pocket pistol, serial

number 822706; during and in relation to a drug trafficking crime for which ROBERT

FLOYD PETERICK, a/k/a “CONCRETE ROB,” may be prosecuted in a court of the

United States, specifically, (i) Conspiracy to Distribute and Possess with Intent to

Distribute Methamphetamine, as alleged in Count One of this Indictment; and (ii)

Distribution of Methamphetamine, as alleged in Count Fourteen of this Indictment;

       In violation of Title 18, United States Code, Section 924(c)(1)(A)(i).




                                             28
      Case 1:16-cr-00190-DLH         Document 2        Filed 08/03/16   Page 29 of 35




                                COUNT TWENTY-THREE

                    Possession of a Firearm by a Prohibited Person

The Grand Jury Further Charges:

       On or about May 2016, in the District of North Dakota,

                                GENE VINCENT HONDL,

having been convicted in any court of a crime punishable by imprisonment for a term

exceeding one year, to wit:

       (a) Possession of Methamphetamine with Intent to Deliver, in Stark County, North
           Dakota, District Court, case number 45-05-K-1111, in or about May 2006;

       (b) Possession of Drug Paraphernalia (Methamphetamine), in Stark County, North
           Dakota, District Court, case number 45-2011-CR-00900 in or about February
           2012; and,

       (c) Possession of a Controlled Substance - Methamphetamine, in Stark County,
           North Dakota, District Court, case number 45-2014-CR-1147, in or about
           November 2014;

did knowingly possess in and affecting commerce a firearm, namely, one Savage, .22

caliber rifle, with an unidentifiable serial number;

       In violation of Title 18, United States Code, Sections 2, 922(g)(1), and 924(a)(2).




                                             29
      Case 1:16-cr-00190-DLH          Document 2     Filed 08/03/16     Page 30 of 35




                            FORFEITURE ALLEGATION-ONE

The Grand Jury Further Finds Probable Cause That:

       As a result of committing one or more of the controlled substance offenses alleged

in Counts One, Ten, Eleven, Twelve, Thirteen, Fourteen, and Fifteen of the Indictment,

defendant ROBERT FLOYD PETERICK, a/k/a “CONCRETE ROB,” shall forfeit to the

United States, pursuant to Title 21, United States Code, Section 853, any and all property

constituting or derived from any proceeds the defendant obtained directly or indirectly as

a result of the violations and any and all property used or intended to be used in any

manner or part to commit or to facilitate the commission of the violations alleged in

Counts One, Ten, Eleven, Twelve, Thirteen, Fourteen and Fifteen of this Indictment,

including but not limited to the following:

       1. one 1998 Dodge Ram pickup, green in color, bearing North Dakota license

             plate number 064AEC;

       2. one Chevrolet pickup, red in color, bearing North Dakota license plate number

             202ALR; and

       3. a sum of money equal to $23,600.00 in United States currency, representing the

             amount of proceeds obtained as a result of the offenses alleged in Counts One,

             Ten, Eleven, Twelve, Thirteen, Fourteen and Fifteen of this Indictment.

       Further, the United States will seek a money judgment for the total amount of

proceeds. If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:

       (a)      cannot be located upon the exercise of due diligence;

                                              30
      Case 1:16-cr-00190-DLH         Document 2      Filed 08/03/16     Page 31 of 35




       (b)    has been transferred to, sold to, or deposited with a third person;

       (c)    has been placed beyond the jurisdiction of the Court;

       (d)    has been substantially diminished in value; or

       (e)    has been commingled with other property which cannot be subdivided

              without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), to seek forfeiture of any other property of defendant ROBERT FLOYD

PETERICK, a/k/a “CONCRETE ROB,” up to the value of the above-listed forfeitable

property;

       In violation of Title 21, United States Code, Section 853.




                                             31
      Case 1:16-cr-00190-DLH          Document 2      Filed 08/03/16     Page 32 of 35




                           FORFEITURE ALLEGATION - TWO

The Grand Jury Further Finds Probable Cause That:

       As a result of committing one or more of the controlled substance offenses alleged

in Counts One, Seven, Eight, Nine and Ten of the Indictment, defendant DAVID

JEFFREY FARNSWORTH shall forfeit to the United States pursuant to Title 21, United

States Code, Section 853, any and all property constituting or derived from any proceeds

the defendant obtained directly or indirectly as a result of the violations and any and all

property used or intended to be used in any manner or part to commit or to facilitate the

commission of the violations alleged in Counts One, Seven, Eight, Nine, and Ten of this

Indictment, including but not limited to the following:

       1. a sum of money equal to $20,700.00 in United States currency, representing

             the amount of proceeds obtained as a result of the offenses alleged in Counts

             One, Seven, Eight, Nine, and Ten of this Indictment.

       Further, the United States will seek a money judgment for the total amount of

proceeds. If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:

       (a)      cannot be located upon the exercise of due diligence;

       (b)      has been transferred to, sold to, or deposited with a third person;

       (c)      has been placed beyond the jurisdiction of the Court;

       (d)      has been substantially diminished in value; or

       (e)      has been commingled with other property which cannot be subdivided

                without difficulty;

                                               32
      Case 1:16-cr-00190-DLH         Document 2      Filed 08/03/16     Page 33 of 35




it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), to seek forfeiture of any other property of defendant DAVID JEFFREY

FARNSWORTH up to the value of the above-listed forfeitable property;

       In violation of Title 21, United States Code, Section 853.




                                             33
      Case 1:16-cr-00190-DLH          Document 2      Filed 08/03/16     Page 34 of 35




                          FORFEITURE ALLEGATION - THREE

The Grand Jury Further Finds Probable Cause That:

       As a result of committing one or more of the controlled substance offenses alleged

in Counts One, Two, Three, Four, Five, and Six of the Indictment, defendant GENE

VINCENT HONDL shall forfeit to the United States pursuant to Title 21, United States

Code, Section 853, any and all property constituting or derived from any proceeds the

defendant obtained directly or indirectly as a result of the violations and any and all

property used or intended to be used in any manner or part to commit or to facilitate the

commission of the violations alleged in Counts One, Two, Three, Four, Five, and Six of

this Indictment, including but not limited to the following:

       1. a sum of money equal to $5,900.00 in United States currency, representing the

             amount of proceeds obtained as a result of the offenses alleged in Counts One,

             Two, Three, Four, Five and Six of this Indictment.

       Further, the United States will seek a money judgment for the total amount of

proceeds. If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:

       (a)      cannot be located upon the exercise of due diligence;

       (b)      has been transferred to, sold to, or deposited with a third person;

       (c)      has been placed beyond the jurisdiction of the Court;

       (d)      has been substantially diminished in value; or

       (e)      has been commingled with other property which cannot be subdivided

                without difficulty;

                                               34
      Case 1:16-cr-00190-DLH         Document 2      Filed 08/03/16     Page 35 of 35




it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), to seek forfeiture of any other property of defendant GENE VINCENT HONDL

up to the value of the above-listed forfeitable property;

       In violation of Title 21, United States Code, Section 853.

                                           A TRUE BILL:

                                           /s/ Grand Jury Foreperson
                                           Foreperson

/s/ Christopher C. Myers
CHRISTOPHER C. MYERS
United States Attorney

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